Case 15-40248   Doc 370-2 Filed 04/12/16 Entered 04/12/16 16:38:57   Desc
                       Proposed Order Page 1 of 4




                        Exhibit A
    Case 15-40248             Doc 370-2 Filed 04/12/16 Entered 04/12/16 16:38:57           Desc
                                     Proposed Order Page 2 of 4



                          THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 IN RE:                                           §      CHAPTER 11
                                                  §
 GTL (USA), INC.                                  §      CASE NO. 15-40248
                                                  §
                     Debtor.                      §
                                                  §

  ORDER GRANTING MOTION OF THE GTL CREDITORS TRUST FOR ORDER
   (I) AUTHORIZING FINAL DISTRIBUTIONS TO CREDITORS; (II) ENTERING
FINAL DECREE; (III) CLOSING BANKRUPTCY CASE; AND (IV) RELATED RELIEF

         ON THIS DATE the Court considered the Motion of the GTL Creditors Trust for Order

(I) Authorizing Final Distributions to Creditors; (II) Entering Final Decree; (III) Closing

Bankruptcy Case; and (IV) Related Relief (the "Motion") filed by the GTL Creditors Trust (the

"Trust"). The Court has reviewed and considered the Motion, and finds upon the information set

forth in the Motion, the record made during the course of this bankruptcy case, and after due

deliberation thereon that good cause exists for entry of this Order as set forth herein.

         ACCORDINGLY, THIS COURT FINDS:

         A.        This Court has jurisdiction over the Motion pursuant to 28 U.S.C. § 1334. The

matter is a core proceeding pursuant to 28 U.S.C. § 157(b). The Court has the authority to grant

the requested relief pursuant to 11 U.S.C. §105(a) and the Court's authority to effectuate the

terms of the Court's Order Confirming Debtor's First Amended (Revised) Plan of Reorganization

[Doc. No. 305].

         B.        With the exception of payments to be made by the Trust on account of the Final

Distributions, all payments required to be paid by the Trust to the U.S. Trustee under the Plan, 28

U.S.C. §1930, or otherwise under the law have been fully paid by the Trust.

         C.        The priority and general unsecured claims listed in the tables set forth in the



4306060v1 (79972.00002.000)
    Case 15-40248             Doc 370-2 Filed 04/12/16 Entered 04/12/16 16:38:57            Desc
                                     Proposed Order Page 3 of 4



Motion constitute a complete and comprehensive listing of unpaid pre-petition and priority tax

claims asserted against the Debtor in this bankruptcy case (whether scheduled or in filed proofs

of claim) and otherwise payable by the Trust. To the extent that a party attempts to subsequently

assert a pre-petition or priority tax claim that was neither scheduled by the Debtor nor based on a

timely filed proof of claim, such a claim shall be deemed herein as an "Unasserted Claim."

          D.       The Trustee has the authority under the terms of the Plan and the Trust Agreement

to make the distributions set forth in the Motion (the "Final Distributions") on behalf of the

Trust.

          E.       The Trustee has the authority under the terms of the Plan and the Trust Agreement

to take the actions set forth in this Order.

IT IS HEREBY ORDERED AS FOLLOWS:

          1.       The Motion is GRANTED as set forth herein.

          2.       Pursuant to 11 U.S.C. § 350(a) and Rule 3022 of the Federal Rules of Bankruptcy

Procedure, the above-captioned bankruptcy case is closed and this order shall act as the final

decree.

          3.       The Trustee, or the Trustee's agent, is hereby authorized to make the Final

Distributions.

          4.       The Trustee, or the Trustee's agent, is authorized to take all actions necessary to

close out the Trust including, without limitation, retaining and paying tax withholdings to the

IRS deemed necessary by the Trustee, filing tax returns on behalf of the Trust, final payments to

Trust professionals, and a possible additional distribution to creditors if there are available funds

over and above the funds that, in the judgment of the Trustee, were reserved to accomplish the

final Trust administrative matters.




4306060v1 (79972.00002.000)
    Case 15-40248             Doc 370-2 Filed 04/12/16 Entered 04/12/16 16:38:57               Desc
                                     Proposed Order Page 4 of 4



         5.        The Trustee is not required to make payment to any Unasserted Claim.

         6.        With the exception of the payment obligations set forth in this Order and the

additional payment owing to the U.S. Trustee on account of the Final Distribution under 28

U.S.C. §1930, the Trustee and the Trustee's professionals are hereby released from any and all

claims and obligations held or that may be held against the Trustee or the Trustee's professionals

in the course of their representation of the Trust by the U.S. Trustee, any state or federal taxing

authority, creditors in this bankruptcy case, or Unasserted Claim holders.

         7.        The terms and conditions of this Order shall be immediately effective and

enforceable upon entry of this Order.

         8.        This Court shall retain jurisdiction to resolve any and all disputes arising from this

Order.



         So ordered this                   day of                , 2016.




                                                    UNITED STATES BANKRUPTCY JUDGE




4306060v1 (79972.00002.000)
